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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

       In re: FENDLER, TODD J                                            §   Case No. 17-81328-TML
                                                                         §
                                                                         §
   Debtor(s)                                                             §

                        NOTICE OF TRUSTEE'S FINAL REPORT AND
                          APPLICATIONS FOR COMPENSATION
                           AND DEADLINE TO OBJECT (NFR)

            Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(f)(8), please take notice that
       ALEX D. MOGLIA                             , trustee of the above styled estate, has filed a
       Final Report and the trustee and the trustee's professionals have filed final fee applications,
       which are summarized in the attached Summary of Trustee's Final Report and Applications
       for Compensation.

             The complete Final Report and all applications for compensation are available for
       inspection at the Office of the Clerk, at the following address:
             U.S. Courthouse
             327 South Church
             Rockford, IL 61101

             Any person wishing to object to any fee application that has not already been approved or
       to the Final Report, must file a written objection within 21 days from the mailing of this notice,
       serve a copy of the objections upon the trustee, any party whose application is being challenged
       and the United States Trustee. A hearing on the fee applications and any objection to the Final
       Report will be held at 09:00AM on 07/29/2019 in Courtroom 3100, United States Courthouse,
       U.S. Courthouse
       327 South Church
       Rockford, IL 61101.
       If no objections are filed, upon entry of an order on the fee applications, the trustee may pay
       dividends pursuant to FRBP 3009 without further order of the Court.




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      Date Mailed: 06/14/2019          By: /s/ ALEX D. MOGLIA
                                                                Trustee
       ALEX D. MOGLIA
       1325 REMINGTON RD.STE. H
       SCHAUMBURG, IL 60173
       (847) 884-8282
       amoglia@mogliaadvisors.com




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                                      UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF ILLINOIS
                                             WESTERN DIVISION

              In re: FENDLER, TODD J                                                         §       Case No. 17-81328-TML
                                                                                             §
                                                                                             §
        Debtor(s)                                                                            §

                                   SUMMARY OF TRUSTEE'S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION


                     The Final Report shows receipts of                                          $          30,884.51

                     and approved disbursements of                                               $            9,549.76
                                                            1
                     leaving a balance on hand of                                                $          21,334.75

                                                          Balance on hand:                                   $              21,334.75
                Claims of secured creditors will be paid as follows:

Claim           Claimant                                       Claim Allowed Amount Interim Payments                         Proposed
No.                                                          Asserted       of Claim          to Date                        Payment
   6            QBE Holdings, Inc                         199,702.11             199,702.11                      0.00              0.00
                                                          Total to be paid to secured creditors:             $                   0.00
                                                          Remaining balance:                                 $              21,334.75

                Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                                          Total Requested Interim Payments                  Proposed
                                                                                                    to Date                 Payment
Trustee, Fees - ALEX D. MOGLIA                                                      3,838.45                     0.00          3,838.45
Trustee, Expenses - ALEX D. MOGLIA                                                    251.12                     0.00            251.12
Attorney for Trustee, Fees - Thomas P. Sandquist                                    5,470.00                     0.00          5,470.00
Attorney for Trustee, Expenses - Thomas P. Sandquist                                  181.00                     0.00            181.00
Other Fees: David Davitt                                                              500.00                500.00                 0.00
                                 Total to be paid for chapter 7 administration expenses:                     $               9,740.57
                                 Remaining balance:                                                          $              11,594.18




                 1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
   earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
   receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
   account of the disbursement of the additional interest.

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               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                               Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
                                                        None
                             Total to be paid for prior chapter administrative expenses:    $               0.00
                             Remaining balance:                                             $          11,594.18

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $1,207.06 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  8P           Michigan Department of Treasury                         1,207.06                 0.00       1,207.06
                                                 Total to be paid for priority claims:      $           1,207.06
                                                 Remaining balance:                         $          10,387.12
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 321,412.00 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 3.2 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments           Proposed
No                                                                    of Claim          to Date          Payment
  1            Landmark Credit Union                                  24,618.15                 0.00         795.60
  2            First Data Global Leasing                                 859.60                 0.00          27.78
  3            Navient Solutions, LLC.                                 8,954.77                 0.00         289.39
  4            Progress Construction & Development, Inc.                   0.00                 0.00              0.00
  5            U.S. Bank National Association                          2,764.77                 0.00          89.35
  7            Hinshaw & Culbertson LLP                             102,533.93                  0.00       3,313.60
  8U           Michigan Department of Treasury                           686.06                 0.00          22.17
  9 -3         Barrick, Switzer, Long, Balsley & Van                  48,131.45                 0.00       1,555.47
               Evera, LLP
 10            Dining Heritage, Inc                                    8,969.78                 0.00         289.88




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 11            On Stage Enterprises Inc                             16,838.07                 0.00           544.16
 12            Regency Inn, Inc                                     15,279.69                 0.00           493.80
 13            Landmark Credit Union                                      0.00                0.00               0.00
 14            Stillman Banccorp, N.A.                              30,488.58                 0.00           985.30
 15            Passariello Moorestown, LLC                                0.00                0.00               0.00
 16            Franny Inc. d/b/a Lazy Day Mkt                       20,000.00                 0.00           646.34
 17 -2         Market Place on Oakton, Inc.                         27,444.94                 0.00           886.94
 18            Morningstar Chiropractic                               5,945.75                0.00           192.15
 19            D&E Pizza LLC                                          7,896.46                0.00           255.19
                            Total to be paid for timely general unsecured claims:         $           10,387.12
                            Remaining balance:                                            $                0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                       None
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00


             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                       None
                                                Total to be paid for subordinated claims: $                  0.00
                                                Remaining balance:                        $                  0.00




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                                          Prepared By: /s/ALEX D. MOGLIA
                                                                                       Trustee

       ALEX D. MOGLIA
       1325 REMINGTON RD.STE. H
       SCHAUMBURG, IL 60173
       (847) 884-8282
       amoglia@mogliaadvisors.com


       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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